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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN                               :       Civil Action No. 1:17-cv-148 SBP
Plaintiff,                                   :       Judge Susan Paradise Baxter
                                             :
v.                                           :
                                             :
BARBARA RAYMOND                              :
Defendant.                                   :


BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        AND NOW, comes Defendant by and through her counsel who respectfully submit this

Memorandum of Law in Support of her Motion for Summary Judgment.


                                     I.    INTRODUCTION


     This case arises from a former Licensed Practical Nurse’s (hereinafter “LPN”) chagrin over

her termination from Pennsylvania Soliders’ and Sailors’ Home (hereinafter “PSSH”). Nancy

Lewen, Plaintiff, has sued Barbara Raymond, Commandant at PSSH, insisting her termination

had nothing to do with her violations of Commonwealth of Pennsylvania and Department of

Military and Veterans Affairs (hereinafter “DMVA”) employee policies and everything to do

with statements she made to the Pennsylvania Department of Health (hereinafter “DOH”) and

the Pennsylvania Office of Attorney General (hereinafter “OAG”) along with corresponding

Facebook messages.


     This case plays out in Facebook messages and other documents written by Plaintiff. The

record contains a complete written record of Plaintiff’s sexual harassment, of her coworker Barry

Blasic (hereinafter “Blasic”) and other intimidating, threatening, and inappropriate conduct
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towards other coworkers and her chain of command. Ultimately, her conduct was so egregious,

Defendant was left no choice but to end Plaintiff’s employment.


   Plaintiff’s printed words provide the framework against which her alleged protected speech

must be examined. Despite her contentions in the complaint of sounding the alarm of elder

abuse and neglect along with staffing issues at PSSH, it is evident from her writings in their

entirety that her speech was used vindictively toward Defendant and other coworkers whom

“disciplined” and instructed her on nursing practices. The undisputed record establishes (1)

Plaintiff’s speech, in light of its content, form, and context, did not implicate a matter of public

concern; (2) her speech was likely to cause and did in fact cause disruption at PSSH, and the

Pickering balancing test accordingly “weighed in favor” of Defendant; and (3) Defendant would

have pursued the same course of action even in in the absence of any protected activity.


   Further, Plaintiff has produced no evidence corroborating any of her accusations in the

Complaint. She continues to speculate that Defendant knew of her alleged protected speech

without offering any evidence to prove such. Plaintiff’s belief that she can say anything, couch it

as protected speech, and avoid any consequence is simply incorrect. Accordingly, Defendant

now moves for summary judgment on all claims in the Complaint and incorporates the

Defendant’s Concise Statement of Undisputed Material Facts herein.


                                II.    PROCEDURAL HISTORY

   Plaintiff initiated a civil rights action by filing a Complaint on June 8, 2017 [ECF. No. 4].

Plaintiff subsequently filed an Amended Complaint [ECF. No. 25] and a Second Amended

Complaint [ECF. No. 31]; the latter of which is the operative Complaint in this case. A Motion

to Dismiss was filed [ECF. No. 60] and an Order was entered [ECF. No. 68]. The motion was
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denied as to Plaintiff’s First Amendment freedom of speech and retaliation claims against

Defendant; however all other claims were dismissed. Id. Defendant now moves for summary

judgment on these remaining claims.


                                III.    STANDARD OF REVIEW


       The function of summary judgment is to avoid trial where it is unnecessary and would

only cause delay and expense. Goodman v. Mead Johnson & Co., 534 F.2d 566, 573 (3d Cir.

1976), cert. den’d, 429 U.S. 1038 (1977). A summary judgment motion must be granted unless

the plaintiff designates specific facts indicating a genuine issue of material fact for trial. Celotex

Corp. v. Catrett, 477 U.S. 317, 323-24 (1986); Fed.R.Civ.P. 56; Lujan v. National Wildlife

Fed'n, 497 U.S. 871, 888 (1990).

       “A fact is ‘material’ under Rule 56 if its existence or nonexistence might impact the

outcome of the suit under the applicable substantive law. A dispute over a material fact is

‘genuine’ if ‘a reasonable jury could return a verdict for the nonmoving party.’” Santini v.

Fuentes, 795 F.3d 410, 416 (3d Cir. 2015) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248, 106 S.Ct. 2505, 2510 (1986)), cited in Wiest v. Tyco Elecs. Corp., No. 15-2034, 2016

WL 386088, F.3d (3d Cir. Feb. 2, 2016)

       Evidence that is “merely colorable” or “not significantly probative” will not defeat the

motion. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 255 (1986).         “When a legal

standard requires the balancing of multiple factors, as it does in this case, summary judgment

may still be appropriate even if not all of the factors favor one party,” so long as the evidence “so

favors” the movant that “no reasonable juror” could render a verdict against it. In re Enter. Rent-

A-Car Wage & Hour Employment Practices Litig., 683 F.3d 462, 471(3d Cir. 2012).

“[S]ummary judgment is essentially ‘put up or shut up’ time for the non-moving party” who
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“must rebut the motion with facts in the record and cannot rest solely on assertions made in the

pleadings, legal memoranda, or oral argument.” Wiest, No. 2016 WL 386088, at *9 (3d Cir.

Feb. 2, 2016) (quoting Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 201 (3d Cir.2006)).

If the non-moving party fails to present evidence sufficient to establish an “element essential to

that party’s case, and on which that party will bear the burden of proof at trial”, summary

judgment is appropriate. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

                                       IV.    ARGUMENT

   A. First Amendment

       Plaintiff brings claims against Defendant in her individual capacity for a violation of her

First Amendment right to freedom of speech and for retaliation for her exercise of her free

speech rights under the First Amendment. Plaintiff contends that she engaged in various forms

of protected speech, which fit into four broad categories:

       1.   Facebook Messages - Department of Health
       2.   Facebook Messages -Pennsylvania Attorney General’s Office
       3.   Complaint to Pennsylvania Office of Attorney General
       4.   Plaintiff’s Commonwealth Employee Witness Statement/EEOC Letter

   Plaintiff has rested her case solely on assertions without more. In contrast, the record fully

supports Defendant’s position, and as such, Plaintiff’s claims must fail as a matter of law.

   1. Defendant Can Prove that Plaintiff Would Have Taken the Same Action Even if the
      Speech Had not Occurred.

   To frame Defendant’s position, a logical place to start is to understand dynamics and

personalities at PSSH. That is why it makes sense to first explain why Plaintiff was terminated

from her nursing job.

       To begin, Plaintiff and Blasic were co-workers and LPNs at PSSH. (SMF at 12). In

August of 2015, Plaintiff friend requested Blasic on Facebook. (SMF at 13). They
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communicated privately through Facebook messages. (SMF at 14). Plaintiff’s messages to

Blasic, at first, were innocuous and not sexually charged. However, in October of 2015, Plaintiff

made her first attempt to interest Blasic in an intimate relationship. (SMF at 15). A review of

the Facebook messages show from October forward, Plaintiff importuned Blasic for dates, sent

him links to sexually-explicit websites, made sexual advances by referencing her breasts and

buttocks and favored sexual positions, suggested he should move in with her, described sexual

experiences, and said on multiple occasions she loved him. Id.

       On January 9, 2016, Blasic, in person, confronted Plaintiff to let her know he was not

interested in a relationship – he thought this would be enough. (SMF at 20). His last Facebook

message to her was on January 16, 2016. (SMF at 19). Yet, despite these overtures, Plaintiff

sent Blasic 154 Facebook messages from January 16, 2016 – February 29, 2016. (SMF at 21).

Most of the Facebook messages were laden with sexual content. It was on February 29, 2016

that Blasic reached out to Plaintiff to let her know that the one-sided relationship had become

such a distraction he had no choice but to block her. (SMF at 15, last message).

       What resulted was Plaintiff composing a letter to Blasic’s wife the very day he blocked

her describing his “dangerous” online dating habits. (SMF at 16, Exhibit 30). Plaintiff did not

know his wife and knew they were in a contentious divorce. (SMF 24 and 25). A copy of the

letter was emailed to Blasic on March 1, 2016. (SMF at 17, Exhibit 11). On March 2, 2016,

Plaintiff informed Blasic that she had mailed the letter to his wife. Id. This notice was done

using her work email and sending it to Blasic’s work email. (SMF at 18).

       The language used in the letter is illustrative that she used this letter to harass Blasic and

his wife and stir up animosity between them. This letter caused Blasic great anxiety, stress, and
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interfered with his ability to work. (SMF at 27). On at least one occasion, the anxiety and

discomfort was so great he requested to go home from work. Id.

       The letter to Blasic’s wife was the impetus that began the investigation into Plaintiff.

Specifically, Blasic shared the letter with a co-worker who alerted administration. (SMF at 28).

Defendant learned of the letter and contacted the Human Resource Analyst who is responsible

for investigating allegations of misconduct. (SMF at 44-47). On March 7, 2016, Blasic wrote a

statement outlining Plaintiff’s sexual harassment and providing some of the Facebook messages.

(SMF at 45, Exhibit 30). He made clear to administration that after he told Plaintiff he did not

want this, the harassment continued. Id.

       After opening this investigation, administration learned of two other alarming allegations.

Specifically, on December 7, 2015, Plaintiff told Blasic “she had been yelled at by one of the

supervisors and admitted to a second supervisor (Hamm) that she had a previous diagnosis with

PTSD and that sometimes when people with PTSD are yelled at they might go out to their car

and get a gun and return and shoot someome.” (SMF at 42, 43). In February of 2016,

administration learned Plaintiff was confronted about this statement and she confirmed that

dayshift supervisors need to be careful “because anyone else could go to their vehicle and return

with a gun and shoot them.” (SMF at 43).

       They also learned that she engaged in a bizarre act of harassment and bullying toward

Hamm. On or about February 20, 2016, Hamm informed Plaintiff she was not in compliance

with distribution of medication to her patients. (SMF at 33). As such, on February 21, 2016,

Plaintiff handed Hamm an approximately four page gender discrimination complaint, containing

serious allegations, that in her own words she knew Hamm could defend. (SMF at 34-36). She

laughed in his face when he read the serious allegations and later laughed by herself recalling
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Hamm’s reaction. (SMF at 38). Hamm felt intimidated and bullied by the letter because he

knew it was not true. (SMF at 39). Plaintiff also knew these allegations were not true because in

a letter to the EEOC after her termination she stated that she was joking and it was a creative

writing piece. (SMF at 40, 41).

       The PDC hearing focused on these three serious issues that had come to the attention of

Defendant. Plaintiff admitted that she had said and done all of these things but that she was

being “informative,” that she was not “intimidating,” that “you have to know context,” and that

she did not think she acted “inappropriately.” In fact, even in her complaint when referencing

why she was fired she says “alleged egregious” conduct. Still to this day, Plaintiff adamantly

believes her conduct was appropriate – “Defendants contend Plaintiff was terminated for the

‘allegedly’ egregious behavior.” See Complaint, Paragraph 4.

       This undisputed evidence shows that Defendant identified multiple legitimate reasons for

Plaintiff’s termination as set forth in her termination letter. (Exhibit 15). While at the time of

Plaintiff’s suspension/termination, Defendant was not aware of the entirety of Facebook

messages that came to light after Plaintiff’s termination, she had Blasic’s statement where he

provided Facebook messages illustrating Plaintiff’s over the top flirting, sexual innuendos, and

preferred sexual positions. Defendant also knew Blasic told Plaintiff “no” but the conduct not

only continued but ramped up. Defendant, as Commandant, had a right to expect that Plaintiff

should be able to work efficiently and cooperatively with other LPNs, including Blasic. But

Plaintiff, by her actions towards Blasic, made it impossible for them to work together. Plaintiff’s

off-duty and on-duty conduct towards Blasic caused him a great deal of emotional stress and

anxiety. In effect, Plaintiff diminished her own efficiency as an employee by making it

impossible for her to work with another employee when necessary. The record is also clear it
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impacted Blasic at work. Blasic had to leave work early which undoubtedly affected PSSH’s

operations. Presumably, it cost PSSH money because they would have paid him for sick leave.

Plaintiff’s conduct caused rumors and other co-workers to ask Blasic what happened. They also

expressed concern for his personal safety and that of his ex-wife and children. Further, as

Plaintiff knew “sexual harassment is a violation of federal and state law and the Commonwealth

Policy.” (SMF at 8).

       Regarding Hamm, as Plaintiff’s supervisor he should be able to provide medical guidance

to ensure patients are properly cared for. Simply correcting Plaintiff on the medication pass

policy should not have triggered Plaintiff’s response. He felt intimidated and bullied by her

when she handed him an accusatory letter she knew to be false. Instead of taking care of patients

and managing other nurses, Hamm’s focus had to shift toward Plaintiff and the false accusations

launched at him. In this instance and when Plaintiff had threatened Hamm that if she ever was

“bullied” that a person with PTSD could go to their car obtain a gun and shoot him and her up –

Hamm first-hand witnessed Plaintiff’s volatile reactions.

       Notwithstanding the impact her conduct directly had on Blasic and Hamm, her conduct

directly impacted PSSH as a whole. Plaintiff on multiple occasions indicated that supervisors

better be careful because anyone could obtain a gun in their car and shoot them. This statement

alarmed everyone she stated it to. Hamm stated to Plaintiff that he was happy she did not take

those actions. (SMF at 43). Blasic in rereading the communications felt a great deal of anxiety

when he read her statement regarding workplace violence. (SMF at 29). To allow an employee,

who suffers PTSD, who stood by this statement from December 7, 2015 through March 10,

2016, to continue to work as a nurse defies any common sense. In this day in age where mass
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shootings are regular headline news, Defendant only had one choice but to terminate Plaintiff

because the alternative risked the safety and lives of others.

       The undisputed evidence supports that each of the three allegations, standing alone, were

sufficient to justify Plaintiff’s termination. To say Defendant did not have justification for firing

Plaintiff would place Defendant in a Catch 22. If Defendant did not fire Plaintiff, she opened the

door to other lawsuits, for example, allowing sexual harassment in the workplace. In addition,

her conduct created such a hostile work environment it would be nearly impossible to work with

or supervise Plaintiff because of her volatile and vindictive behavior.

       The record reveals that Plaintiff’s termination letter listed five workplace policy

violations, all of which she had knowledge of. (SMF at 61, 6). Although all of Plaintiff’s

conduct plays out in black print that she authored, she continues to take no responsibility. How

can an employer keep an employee who takes no responsibility and is dismissive of egregious

conduct?

        In sum, Defendant has produced adequate evidence that her termination would have

resulted even if the alleged protected speech had not occurred. Defendant had multiple

legitimate other grounds justifying ending Plaintiff’s employment.


   2. Plaintiff Cannot Show Defendant Had Knowledge of her Alleged Protected Speech.

       Nothing of record connects consideration of Plaintiff’s expression to Defendant’s

   decision to end Plaintiff’s employment. Speech which the alleged retaliating party does not

   know about cannot support a retaliation claim. See Ambrose v. Twp. of Robinson, 303 F .3d

   488, 493 (3d Cir. 2002)(“It is only intuitive that for protected conduct to be a substantial or

   motivating factor in a decision, the decisionmakers must be aware of the protected

   conduct.”); Allen v. Iranon, 283 F .3d 1070, 1076 (9th Cir. 2002) (holding in First
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Amendment retaliation case that “[i]n order to retaliate against an employee for his speech,

an employer must be aware of that speech.”).

   The speech Plaintiff alleges is protected occurred over Facebook messages with Blasic,

an anonymous complaint to DOH, a complaint to OAG, and a letter she wrote about Hamm.

The Facebook messages were private conversations with Blasic. The only Facebook

conversations provided to Defendant were those included in Blasic’s witness’ statement

which did not include any mention of DOH and OAG complaints. The undisputed record

shows Brian Skinner, Human Resource Analyst, received messages from Blasic spanning

“the last ten days or so”. (SMF at 25). He received the Facebook messages on March 2,

2016. Plaintiff’s Facebook messages referencing the complaints she made to DOH and OAG

occurred on January 26, 2016, January 28, 2016, and February 2, 2016. Thus, a liberal

reading “of ten days or so,” shows he was not in possession of these specific messages. This

is supported from Defendant’s April 20, 2016 email, over a month after Plaintiff was

terminated, when she wrote she had just learned Plaintiff had filed complaints with DOH and

OAG. (SMF at 76). In fact, she went on to state that she had assumed it was the daughter of

a patient who had made the anonymous complaint not Plaintiff. Id. Further a review of the

State Civil Service Commission hearing shows that Plaintiff provided the entirety of the

Facebook messages as an exhibit and stated the other side –meaning PSSH—did not have a

complete set. (SMF at 78). And finally, Defendant, Blasic, Hamm, and other key employees

to Plaintiff’s termination, testified under oath that they had no knowledge Plaintiff made

complaints to DOH and OAG prior to termination. (SMF at 73-77).

   Plaintiff cannot make the argument that her name was disclosed during the inspection

because the Affidavit of Susan Williamson, Director Division of Nursing Care Facilities at
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DOH, asserted that the name of a complainant is confidential, unless they state otherwise –

which Plaintiff did not. (SMF at 80). The name is not shared with the facility during the

inspection and at no point in time is it public information. Id. As for Plaintiff’s OAG

complaint, she was interviewed by OAG in June of 2016 and Defendant was interviewed in

August 2016 well after her termination. (SMF at 23 and 24).

   Plaintiff argues temporal proximity between her complaints and termination provide an

adequate basis for the conclusion that this “whistleblower retaliation” for reporting elder

abuse, elder neglect, and quality of care issues to DOH and OAG was the actual reason for

her termination. (ECF. 31, Page 3, Paragraph 5). The Third Circuit recognized in Farrell v.

Planters Lifesavers Co., 206 F.3d 271, 279 (3d Cir.2000), that suggestive timing is relevant

to causation in Title VII retaliation cases. In Rauser v. Horn, 241 F .3d 330, 334 (3d Cir.

2001) the Court held that an inmate’s First Amendment retaliation case in support of the

proposition that “suggestive temporal proximity” is a factor to establishing a causal link

between protected conduct and retaliatory action.

           Furthermore, other courts of appeals have more explicitly recognized the
           relevance of temporal proximity in First Amendment retaliation cases. See
           Nethersole v. Bulger, 287 F.3d 15, 18 (1st Cir.2002); Gorman–Bakos v.
           Cornell Coop. Extension of Schenectady County, 252 F.3d 545, 554–55
           (2d Cir.2001); Cockrel v. Shelby County Sch. Dist., 270 F.3d 1036, 1056
           (6th Cir.2001), petition for cert. filed, 70 U.S.L.W. 3669 (U.S. Apr. 15,
           2002) (No. 01–1548); Hudson v. Norris, 227 F.3d 1047, 1051 (8th
           Cir.2000); Allen v. Iranon, 283 F.3d 1070, 1077 (9th Cir.2002). But see
           Wagner v. Wheeler, 13 F.3d 86, 91 (4th Cir.1993); Butler v. City of
           Prairie Vill., 172 F.3d 736, 746 (10th Cir.1999).

   Ambrose v. Township of Robinson, Pa., 303 F .3d 488, 494 (2002).

   However, these cases listed above found temporal proximity to be relevant in establishing

that protected activity was a substantial or motivating factor for retaliation. None of these

cases indicate that temporal proximity can be used to establish that an employer was aware of
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   the protected conduct in the first place. Consequently, Plaintiff’s “temporal proximity”

   argument does not establish Defendant’s knowledge. Plaintiff’s attempt to make this

   connection on temporal proximity alone is insufficient. She has offered no evidence on this

   point, and on this basis alone, the case should be dismissed.

   3. Plaintiff’s First Amendment Free Speech Claim Fails Because the Expressions were not a
      Matter of Public Concern.

   Public employee’s First Amendment rights are limited by the Government’s countervailing

interest in efficient workings of public services. DeRitis v. McGarrigle, 861 F .3d 444, 452 (3d

Cir. 2017). A public employee’s “speech is protected by the First Amendment only (1) if he

spoke ‘as a citizen (and not as an employee),’ (2) if his speech involved ‘a matter of public

concern,’ and (3) if his employer lacked an ‘adequate justification’ for treating him differently

from the general public, based on a balancing of his and his employer’s interests under Pickering

v. Board of Education, 391 U.S. 563,” (1968). DeRitis v. McGarrigle, 861 F .3d at 452

(reversing denial of summary judgment, Munroe v. Central Bucks Sch. Dist., 805 F .3d 454, 466

(3d Cir. 2015). Even if a public employee speaks on a matter of public concern, his speech is not

protected unless the employee’s interest in expressing himself on the matter outweighs the

government’s interest in promoting the efficiency of its public services. See Pickering v. Board

of Education, 391 U.S. 563, 568 (1968). A Court must determine whether an employee’s speech

addresses a matter of public concern by the “content, form, and context of a given statement, as

revealed by the whole record.” Connick v. Myers, 461 U.S. 138, 147-148 (1983). The Third

Circuit Court of Appeals has stated that speech on a matter of public concern “generally

addresses a social or political concern of the community” or “relate[s] to broad social or policy

issues.” Borden v. Sch. Dist. Of Twp. Of E. Brunswick, 523 F .3d 153, 169-170 (3d Cir. 2008).
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       However, speech expressing a personal grievance limited to the “day-to-day minutiae” of

employment does not address a matter of public concern and does not benefit from First

Amendment protection. De Ritis v. McGarrigle, 861 F .3d 444, 455 (3d Cir. 2017). Even if it

“brush[es] … against a matter of public concern” by virtue of the employee’s public

employment, speech that addresses only the employee’s own problems expresses only a

“personal grievance” and does not receive First Amendment protection. Miller v. Clinton Cty.,

544 F .3d 542, 551 (3d Cir. 2008).

       As stated previously, Plaintiff’s alleged protected speech fit into four categories. The

undisputed record reveals Plaintiff, while speaking as a citizen, was expressing a personal

grievance limited to the “day-to-day minutiae” at PSSH specifically her dissatisfaction of

management and her chain of command.

               a. Facebook Messages Concerning Anonymous DOH complaint


       Plaintiff claims her private Facebook messages relating to her anonymous complaint to

DOH were a form of protected free speech. On January 26, 2016 in a Facebook message, from

Plaintiff to Blasic she stated that “[t]hey plan to come in on dayshift hours this week and they

don’t expect to find an unlawful staffing shortage. I did name names of where the quality of care

problem lies, initials BR and NF.” (SMF at 65). Then on January 28, 2016 in a Facebook

message from Plaintiff to Blasic she stated, “I read the email from Tom B. about DOH coming in

yesterday and not finding anything wrong yesterday. I also just got the phone call from DOH

inspector explaining how they didn’t find anything wrong yesterday. I didn’t think that they

would find anything wrong yesterday. It’s going to be fun to sit back now and watch how this

unfolds.” (SMF at 66).
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       Defendant acknowledges that quality care and staffing issues on their face are matters of

public concern. But that is not the standard in determining whether the speech is a matter of

public importance. These statements must be viewed in the context of the entire record. In

Miller the Court held, “[w]e cannot ‘cherry pick’ something that may impact the public while

ignoring the manner and context in which that statement was made or that public concern

expressed. Our inquiry must also consider the form and circumstance of the speech in question.”

Miller v. Clinton, 544 F .3d 542, 549 (2008).


       Here, Plaintiff construes “public concern” too broadly. Reviewing the cases where courts

have found that speech implicates a matter of public concern reveals that Plaintiff’s claims sound

in quite a different key. Precedent suggests that speech touches a matter of public concern if it

“relate[s] to broad social or policy issues,” Sanguigni v. Pittsburgh Bd. Of Public Educ., 968

F.2d 393, 397 (citing Rankin and Givhan); “implicate[s] the discharge of public responsibilities

by an important government office, agency, or institution,” Id. 397-398 (citing Connick and

Pickering); “seeks to bring to light actual or potential wrongdoing or breach of public trust on the

part of government officials,” Holder v. City of Allentown, 987 F .2d 188, 195 (3d Cir. 1993); or

“relate[s] primarily to the way in which a government office [i]s serving the public.” Sanguigni,

968 F .2d at 398 (citing Czurlanis). Matters of public concern traditionally address official

misconduct, abuse of office, neglect of official duties; by contrast, issues of personal workplace-

related concern include complaints about workplace management and other issues “that are

articulated solely because of their personal effect on the employee.” See Holder v. City of

Allentown, 987 F .2d 188, 195 (3d Cir. 1993); Garcia, 438 Fed. Appx. At 703-704. In sum, the

content of these types of speech goes to the core of the First Amendment because they add to the

debate on matters of public importance.
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         Plaintiff’s statements on January 26, 2016 and January 28, 2016 did not address such

high-minded issues of public importance. First, the content of the speech are vague. At the

outset, it is unclear how Plaintiff can argue simply using the words “staffing shortage” and

“quality of care problem” is a public concern when no inference can be drawn as to what this

speech touches on, i.e. how can it be said that these Facebook messages add to the debate of

matters of public importance when her speech is ambiguous.


       That said, and more importantly, a review of the two Facebook messages together show

that Plaintiff knew they would not find anything wrong which leads to the conclusion that she

did not believe that the information she passed along was true. She was also asked by an OAG

Agent what laws or statutes she believes PSSH violated and she could not provide any. In

further support, Plaintiff had conversations with Blasic where she stated, “you’re wrong about

‘inadequate staffing’ because they do provide 4.0 nursing hours per patient per day, when it is

actually only required of them by law to provide 2.7 nursing hrs per patient per day.” (Exhibit 9,

Page 47). Thus, this speech cannot bring light to actual or potential wrongdoing because

Plaintiff does not believe it. Again, how can a statement add value to a debate when the speaker

does not believe it to be true?


       However, notwithstanding the above, when reviewing all of the Facebook messages, the

content, form, and context of these two messages, show that this speech was a personal grievance

and used in retaliation. The undisputed evidence shows Plaintiff was motivated by personal

animus she had towards administration, including Defendant. Plaintiff expressed that any

discipline she ever received was at the hands of administration. She confirmed these feelings on

June 17, 2016, when she stated, administration responds to deficiencies cited by the Inspectors,

as being the staff’s fault and disciplines the staff. (SMF at 66). On December 7, 2015, Plaintiff
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disclosed to Blasic that she was “up in arms” over the PDC she recently received and does not

believe that PDCs should be given for state citations. (SMF at 81). She then received another

PDC in January of 2016 where she received a written reprimand. (SMF at 83). From the record

before the court, it is clear Plaintiff does not handle any sort of criticism well, and an inference

can be drawn that this upset her based on her past reaction to her earlier PDC and her reaction to

previous workplace constructive criticism and rejection.


       Thus, it is clear Plaintiff had deep seeded animosity towards Defendant and her speech

was used to air this personal grievance. Plaintiff expressed on multiple occasions that she

disagreed with Defendant’s management of the workplace, including staffing, PDCs, and sexual

relationships of patients. Plaintiff has a history of vindictive conduct. For example, after

Blasic’s rejection she mailed a vindictive letter to his ex-wife; after a co-worker “yelled at her”

she referenced getting a gun in the parking lot and shooting someone; and after Hamm corrected

her passing of medication she wrote a letter with serious allegations against him. So even

though she knew by her admissions that there was no founded basis for her allegations she was

determined to raise an issue anyway and attach Defendant’s name to it. Had she really cared

about these issues, the chain of command should have been utilized. The Court has stated self-

interest and animus may indicate the speech involves a private dispute rather than an issue of

public concern. See Connick, 461 U.S. at 148 but, as was pointed out in Rode v. Dellarciprete,

845 F .2d 1195, “complete reliance on [the speaker's] motivation for speaking is inappropriate.”

Id. at 1201; see also Versarge v. Clinton, 984 F .2d 1359, 1365 (3d Cir. 1993)(motivation is only

one factor to consider).


       And finally, this speech occurred privately with a person she loved and wanted to have

conversation with. These Facebook messages were restricted to the two of them; therefore, they
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lack a “public mien”. Compare Swineford v. Snyder Cty. Pa., 15 F .3d 1258 1272 (3d Cir.

1994)(characterizing complaints to commissioners, the press, and finally several investigatory

agencies as having a “public mien” and thus touching on matters of public concern

distinguishing complaints made only to a fellow staff members).


       Based on the arguments above, when considering the statements content, context and

form, Plaintiff’s speech was expression used to air her personal grievance towards Defendant.

Again, while Plaintiff’s messages on their face appear to brush on a matter of public concern, it

does not convert her personal grievance into protected speech.


       b. Facebook Messages Concerning Complaint Made to OAG

       Plaintiff argues that the speech set forth in a Facebook message to Blasic on February 2,

2016 stating, “I filled out a Pennsylvania elder abuse complaint form and mailed it to Harrisburg

along with a two page typewritten factual letter. I didn’t do it anonymously. Even as I type this,

my complaint is in Harrisburg on its way to the Attorney General. I strongly suspect that Barb

Raymond never did the mandatory reporting for the involuntary deviate sexual intercourse that

was committed against (name redacted) over a year ago. There’s a 12 year statute of

limitations.” (SMF at 64).


       Defendant again concedes that this Facebook message on its face appears to address a

matter of public importance. But again viewing the content, form and context of this speech

demonstrates that it was nothing more than frustration with management. This Facebook

message references the complaint she made to OAG. This complaint was investigated on June

17, 2016, when Plaintiff was questioned by a Special Agent from OAG. (SMF at 66). During

questioning, Plaintiff admitted the DOH complaint was the exact same complaint she filed with
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OAG. Id. For the same reasons referenced in section a supra, how can a statement add value to

a debate when the speaker does not believe it to be true?


       In further support of this position, the analysis of Plaintiff’s motivation by personal

animus and the lack of “public mien” in section a supra are incorporated herein.


       c. Complaint to OAG


       The letter in its entirety demonstrates with clarity Plaintiff’s frustration with management

and workplace issues rather than touching on matters of public importance. The framework

outlined previously in section a supra set the stage for the complaint made to OAG and is

incorporated herein.


       Specifically, Plaintiff had a pre-disciplinary hearing on January 10, 2016, and on

February 1, 2016, she wrote a complaint to OAG where Defendant’s name appears three times in

a two page letter, again showing her personal grievance with Defendant. (SMF at 65, Exhibit

22).


       Plaintiff’s disagreement with policies regarding sexual relationships shines through the

letter. This is further supported by an email Plaintiff wrote where she described suggested

intimacy policy guidelines at PSSH and indicated patients should have a dedicated room where

they could have sexual encounters. (SMF at 78). However, despite what Plaintiff wanted,

PSSH had a policy in place on how staff was to handle sexual relationships between residences

and patients. (SMF at 67). Speech that expresses differing views of how a workplace should

operate does not rise to the level of public concern. In sum, the letter was intended to air her

personal grievance with Defendant, and thus, should not be afforded First Amendment

Protection.
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       d. Commonwealth Employee Witness Statement/EEOC Letter
         Plaintiff saying that the letter she wrote pertaining to Hamm was protected speech does

not make it so. Calling the statement in the letter protected speech falsely captures the essence of

what was written. The facts pertaining to this particular speech mirror those in the Miller case.

In Miller, the Court considered whether a letter written by an adult probation officer to the

president judge of the court rose to the level of constitutionally protected speech. 544 F .3d at

546-551. The Court acknowledged that Miller’s statements that the county probation office was

being run ineffectively and that her supervisors called probation clients “scum” clearly referred

to issues of public concern. However, the statements must be viewed in context to the letter in

its entirety. The letter focused on Miller’s private grievances as an employee and the statements

about the office’s ineffective operations and the supervisor’s comments were collateral to the

main points of her complaint. Id. She clearly stated her reason for writing – specifically she was

up with her supervisor and could no longer work under her. Id. The minor references to an issue

of public concern could not be read as anything other than a multi-facet personal gripe.


       Miller, like Plaintiff, wrote a four paged typed written letter where her recent disdain for

Hamm was on full display. (SMF at 36, Exhibits 16, 20). She was critical of Hamm and

supervision as a whole, had conflicting opinions with operations and how PSSH should be run.

Id. Plaintiff, like Miller, wrote a letter that when read in its entirety focused on her grievances

with Hamm. There is one section of the four paged typed letter that references Pennsylvania

Assisted Living Regulations – Direct Care Staffing. Id. at Page 3. She stated that “[o]ne staff

member should never be left alone on the unit for such an extended period of time, in my

opinion…” Id. It is clear Plaintiff from this statement that she has a differing opinion about

staffing then her superiors which goes to how PSSH operates, i.e. nothing more than day to day
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minutiae. However, even if this statement “brushed” on a matter of public importance it was

collateral to the overall tone and purpose of the letter – to express her dissatisfaction with Hamm.


         In addition, timing is important with this particular letter. Plaintiff wrote it and handed

it to Hamm a day after Hamm explained to Plaintiff the proper way to pass out medication.

Again, Plaintiff was unable to handle instruction and reacted in a volatile way, by writing a letter

with serious allegations that she knew were not true because she wanted to personally intimidate

and harass Hamm. She felt pleasure watching his reaction because she was getting back at him.

As stated earlier, personal animus is a factor for the court to consider when evaluating the issue

of public concern.


         And finally, Plaintiff has stated multiple times that the letter was a joke and a creative

writing style document. (SMF at 41). In Plaintiff’s complaint she admitted again she was joking

but that she raised safety and discrimination concerns, and thus, this is protected speech. This

statement is an incredulous statement to make and goes to her credibility. We are supposed to

extract what is real and what is a joke? It is hard to imagine how the letter raises issues of public

importance in light of all of the above. For these reasons, the speech in this letter is not protected

under the First Amendment.


   4. Even if Defendant did terminate Plaintiff based on her speech, such termination would
      have been legal and justifiable.

   Even assuming Plaintiff’s version of events is correct – that she was terminated for

exercising her First Amendment rights – she is still not entitled to recovery. Defendant has an

interest in promoting efficiency of public services it performs to veterans and their spouses

through its employees. See Pickering v. Board of Education, 319 U.S. 563, 568 (1968). This has

given rise to the Pickering test which holds that “[s]o long as employees are speaking as citizens
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about matters of public concern, they must face only those speech restrictions that are necessary

for their employers to operate efficiently and effectively.” Where an employee demonstrates that

his or her speech was the impetus behind an adverse employment action, the burden then shifts

to the government -- here, to Defendants -- to “make a substantial showing of likely

interference”. Jeffries v. Harleston, 52 F .3d 9, 13 (2d. Cir. 1995).


   Employers have an interest in “promoting workplace efficiency and avoiding workplace

disruption.” McGreevy v. Stroup, 413 F .3d 359, 363 (3d Cir. 2005). The government need not

show the existence of an actual disruption if it established that disruption is likely to occur

because of the speech. Id. at 992 & n. 7.    While the inquiry varies given the nature of the

speech at issue, courts typically consider whether the speech impairs discipline or employee

harmony, has a detrimental impact on close working relationships requiring personal loyalty and

confidence, impedes the performance of the speaker’s duties, or interferes with the enterprise’s

regular operations. See, e.g., id. at 991. “The balancing we must undertake is fact-intensive

inquiry that requires consideration of the entire record, and must yield different results depending

on the relative strengths of the issue of public concern and the employer’s interest.” Miller, 544

F .3d at 548.


   Here, it is beyond challenge Plaintiff’s speech pertaining to DOH and OAG complaints, if

considered a matter of public concern (which it is not), the weight of the statements were lacking

given the context, content, and form. When DOH conducted site visits, it required staff at the

facility to comply with their requests on little to no notice. (SMF at 79, Exhibit 28).

Specifically, PSSH staff had to pull a roster, provide information about patients, and turn over

policies to DOH. Id. After conducting their visit, DOH met with the Administrator to review

potential findings. Id. Depending on the complaint this process took the Administrators,
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Director of Nursing, Assistant Director of Nursing, and other staff members away from day to

day duties and patient care. Id. Thus, Plaintiff’s speech pertaining to DOH, directly interfered

with regular operations at PSSH on allegations she knew did not hold weight. In addition, DOH

has an important responsibility to the public and it was a waste of their resources and time to

investigate a complaint that Plaintiff knew was not substantial.


   That said, the same holds true for her speech pertaining to the OAG complaint. While the

investigation occurred subsequent to her termination, Defendant was on notice that a nurse made

allegations against her. She was on notice that Plaintiff had referred her to OAG and she was

being questioned by an agent. In place at PSSH was a chain of command to direct and issues or

concerns. Yet instead of going through the chain of command, she went directly to the criminal

division at OAG. While Plaintiff did not directly report to Defendant, Defendant oversaw all

nurses and maintained order by ensuring laws, regulations, and policies were being followed. By

taking the vindictive step of making a criminal report, it impaired the chain of command in place

that was essential for all communications, most importantly those that ensured resident care in a

timely fashion. (Exhibit 28, Paragraph 3).


   That aside, Plaintiff’s false allegations directed at Hamm caused him to be intimidated and

bullied by someone he supervised. As Plaintiff’s supervisor he should be able to provide

medical guidance to ensure patients are properly cared for. Simply making a correction should

not have triggered this response. Her conduct had a detrimental impact on a relationship she had

with a supervisor and prevented him from supervising her.


   Finally, when looking Plaintiff’s speech in their entirety shows her speech had/has the

potential for a detrimental impact on close working relationships. The undisputed record shows
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that her chain of command did take the time to sit with her over issues, yet, she went to these

extreme measures on matters with relatively low strength on the issue of public concern.

Clearly, this speech when balanced against the employer’s interest of effectively caring for

residents weighs in favor of PSSH.


     Plaintiff’s job required significant public contact (i.e. with the residents), and thus

Defendant’s interest in curtailing speech that affected its operations was great. What she did was

posed an unequivocal threat to the effective operations of PSSH, and any adverse employment

action taken by Defendant was entirely justified.


   5. Plaintiff has Failed to Demonstrate the Requisite Casual Nexus Between her Purportedly
      Protected Activity and Alleged Retaliation.

       To state a First Amendment retaliation claim, a public employee must demonstrate (1)

that the First Amendment protects his activity, and (2) that the protected activity was a

substantial factor in the alleged retaliatory action. Gorum v. Sessoms, 561 F.3d 179, 184 (3d Cir.

2009). “The first factor is a question of law; the second factor is a question of fact.” Hill v.

Borough of Kutztown, 455 F.3d 225, 241 (3d Cir. 2006). If the plaintiff satisfied these two

elements, the burden shifts to the defendants to show that the same action would occur if the

speech had not occurred. See Green v. Phila. Hous. Auth., 105 F .3d 882, 885 (3d Cir. 1997).

       Even if Plaintiff’s expressions were protected (which they are not – see supra Section 3 &

4), her First Amendment retaliation claim must fail because the evidentiary record shows,

beyond challenge, that Plaintiff has not met her burden of showing causation. Her argument is

premised on “facts” that are not supported in the record. Plaintiff makes much to do over the

temporal proximity between her termination and the complaints she made to DOH and OAG and

referenced in Facebook messages. However, she conveniently ignores that during this same time
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period she violated the Commonwealth of Pennsylvania and DMVA employee policies that she

had knowledge of and that violations could result in termination. Specifically, she sexually

harassed, intimidated, bullied, and threatened more than one co-worker and violated the IT

acceptable use policy. This behavior occurred on multiple dates over a significant time period.

The conduct was alarming and egregious. Yet, this is dismissed by Plaintiff as a cover up on

Defendant’s part. The irony in this argument is these acts of sexual harassment, intimidation,

bullying, and other violations occur in her Facebook messages that she has authenticated as

accurate and complete. They occur in emails that belong to her. It is bold of her to say

Defendant is hiding behind this and couching it a certain as a guise to get rid of her, when it is all

there, and the seriousness of her conduct shines through.


   Finally, as previously addressed above, Plaintiff’s perception of her conduct as being “taken

out of context”, or “you have to know me”, “I was being informative”, that she was there to help

Blasic, or that she was reporting serious violations of patient care are simply that of her

perception and not facts. The record makes clear that Blasic and Hamm did not share her

sentiments. In fact, it caused great stress and anxiety for Blasic that he was completely distracted

by it. Plaintiff cannot simply rely upon her personal perceptions to defeat Defendant’s Motion,

and yet she offers nothing more than that. See Ridgewood Bd. of Educ. v. N.E. for M.E., 172 F

.3d 238, 252 (3rd Cir. 1999). Having failed to produce any competent evidence of a casual

nexus between her purportedly protected activity and Defendant’s allegedly retaliatory actions,

her claim fails as a matter of law.
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                                 V.    CONCLUSION

   For the foregoing reasons, Defendant respectfully requests that this Honorable Court

grant their Motion for Summary Judgment and dismiss Plaintiff’s Amended Complaint with

prejudice.




                                                       Respectfully Submitted,


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